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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 NATIONAL PUBLIC RADIO, INC., et al.,

                              Plaintiffs,           Civil Case No. 25-cv-1674

                v.
                                                    DECLARATION OF
 DONALD J. TRUMP, et al.,                           KATIE TOWNSEND
                               Defendants.



                         DECLARATION OF KATIE TOWNSEND

I, Katie Townsend, hereby declare as follows:

       1.      I am over 18 years of age, am competent, and make this declaration based upon my

own personal knowledge. I make this declaration in support of Plaintiffs’ Motion for Summary

Judgment. If called to do so, I could and would competently testify to these matters under oath.

       2.      I am a Partner in the Los Angeles and Washington, D.C. offices of Gibson, Dunn &

Crutcher LLP (“Gibson Dunn”). I am one of the Gibson Dunn attorneys representing Plaintiff

National Public Radio, Inc. (NPR) in the above-captioned case.

       3.      In preparing Plaintiffs’ Motion for Summary Judgment and Memorandum of Law,

I reviewed the following social media posts published by President Trump. I last reviewed these

posts on June 13, 2025. Below are true and accurate screenshots of the posts as well as the web

address of each post.

       4.      On January 26, 2020, President Trump posted on X:




                                                1
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@realDonaldTrump, Twitter (Jan. 26, 2020),

https://x.com/realdonaldtrump/status/1221436736594681856.

       5.     On April 10, 2024, President Trump posted on Truth Social:




@realDonaldTrump, Truth Social (Apr. 10, 2024),

https://truthsocial.com/@realDonaldTrump/posts/112248653824267212.

       6.      On March 27, 2025, President Trump posted on Truth Social:




                                              2
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@realDonaldTrump, Truth Social (Mar. 27, 2025),

https://truthsocial.com/@realDonaldTrump/posts/114232752130631453.

       7.     On April 1, 2025, President Trump posted on Truth Social:




@realDonaldTrump, Truth Social (Apr. 1, 2025),

https://truthsocial.com/@realDonaldTrump/posts/114264549657133828.

       8.     On June 12, 2025, President Trump posted on Truth Social:




@realDonaldTrump, Truth Social (June 12, 2025),

https://truthsocial.com/@realDonaldTrump/posts/114671982391481893.


                                              3
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&"E8=56G8"QDE8G"O8D65BI"9J"O8GbQGI"BF6B"BF8"J9G8N94DN"47"BGQ8"6DE"=9GG8=B0"

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